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 Attorneys for Plaintiff

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
 ELIZABETH ROACH,

             Plaintiff,
 v.                                          CASE NO: 1:23-CV-02210-RMB-EAP

 ALLSTATE INSURANCE COMPANY, JOHN
 DOE (1-10) FICTITOUS NAMES, and                  FIRST AMENDED COMPLAINT
 JOHN DOE, INC. (1-10) FICTITIOUS
 NAMES;

             Defendants.


       Plaintiff,    Elizabeth      Roach,   by   way   of   Complaint   against

 Defendants, hereby states:

                          JURISDICTION AND VENUE

  1.   This Court has jurisdiction over this matter, removed from

       the Superior Court of New Jersey Law Division by Defendant

       Allstate Insurance Company, pursuant to 28 U.S.C. 1332 on the

       grounds of diversity of citizenship as between the Plaintiff

       and Defendants and a claim for damages in excess of $75,000.

  2.   This district is the proper venue pursuant to 28 U.S.C.

       §1391(b)     because   the    Plaintiff     resides    in   the   subject

       district and the underlying claim for Underinsured Motorist

       Benefits and resulting trial took place within the subject

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       district.

                                   THE PARTIES

  3.   Plaintiff Elizabeth Roach is an adult individual currently

       residing in the County of Cape May, State of New Jersey.

  4.   Defendant       Allstate   Insurance   Company   is    a    legal   entity,

       registered to do business in the State of New Jersey, with a

       principal place of business located at 721 US Highway 202,

       206 located in the City of Bridgewater, County of Somerset,

       State of New Jersey.

  5.   John Doe (1-10) fictitious names are heretofore unidentified

       individuals who were negligent or otherwise responsible for

       the damages to plaintiff outlined herein.

  6.   John     Doe,    Inc.   (1-10)    fictitious   names       are   heretofore

       unidentified legal entities who were negligent or otherwise

       responsible for the damages to plaintiff outlined herein.

                  FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

  7.   On   January      16,   2019,    Elizabeth   Roach    was    operating   an

       automobile traveling west on Breakwater Road in Cape May

       County, State of New Jersey.

  8.   At the same time and place, Donald Walsh was operating an

       automobile owned by his mother Margaret Wilkinson, travelling

       west on Breakwater Road behind Ms. Roach.

  9.   Donald    Walsh,    who    was   intoxicated   and    subsequently    pled

       guilty to driving while intoxicated, failed to exercise due


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      care and crashed into the rear of Ms. Roach’s car resulting

      in serious bodily injury to her.

  10. As of January 16, 2019, Elizabeth Roach was insured under a

      policy of automobile insurance issued by Defendant Allstate

      Insurance         Company,    which        included      coverage       for

      Uninsured/Underinsured Motorist Coverage in the amount of two

      hundred fifty thousand dollars ($250,000).

  11. On   or   about    December   9,   2019,    Elizabeth    Roach    filed   a

      Complaint by and through counsel against Donald Walsh and

      Margaret Wilkinson. See Complaint, Attached as Exhibit A.

  12. On or about September 9, 2020, Plaintiff entered into a

      settlement    with     tortfeasor      Defendants     Donald   Walsh    and

      Margaret Wilkinson for ninety-five thousand dollars ($95,000)

      out of the one hundred thousand-dollar ($100,000) liability

      coverage limits available.

  13. On or about May 22, 2020, Elizabeth Roach filed an Amended

      Complaint by and through counsel against Allstate Insurance

      Company for Uninsured/Underinsured Motorist Benefits. See

      Amended Complaint, Attached as Exhibit B.

  14. Plaintiff asserted that she sustained serious and permanent

      spinal    injuries     that   caused     her   significant       pain   and

      limitations on a daily basis and had a profound impact on her

      life since the accident.

  15. At all times relevant herein, Elizabeth Roach continued to


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      suffer pain and limitations due to the January 16, 2019 car

      crash and continued to undergo treatment.

  16. This treatment included but was not limited to: (1) lumbar

      medial    branch   block    injections    on   September    23,   2020;

      (2)lumbar medial branch block injections on March 31, 2021;

      (3) lumbar medial branch block injections on October 20, 2021;

      and (4) lumbar radiofrequency ablations on February 1, 2022.

  17. Over the course of the underlying litigation, upon receipt of

      medical records and bills from treating providers, counsel

      for plaintiff would produce said material to counsel for

      Defendant Allstate Insurance Company.

  18. In the underlying litigation, Plaintiff retained as experts

      Interventional      Pain     Management    Specialist       Dr.   Peter

      Pryzbylkowski, M.D. and Neurosurgeon Dr. Andrew Glass, M.D.,

      who   both   concluded     that   Plaintiff    suffered    serious   and

      permanent spinal injury as a result of the accident.

  19. Plaintiff expert Dr. Glass further indicated that he believed

      surgical intervention was warranted, though Ms. Roach opted

      not to undergo surgery as she was in her seventies.

  20. The discovery end date in the underlying litigation was June

      2, 2021.

  21. On or about October 13, 2021, counsel for Plaintiff contacted

      counsel for Defendant Allstate to ascertain their settlement

      position, with defense counsel suggesting             that plaintiff


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      counsel was naive if they thought Allstate would pay more

      than the arbitration award, which given the credit due to the

      settling tortfeasor, would have been negated.

  22. Defense counsel left a voicemail later that day stating that

      Allstate was taking a no-pay position.

  23. On January 26, 2022, counsel for Plaintiff contacted and spoke

      to counsel For Defendant to ascertain Allstate’s settlement

      position with counsel for Defendant, with defense counsel

      relaying to Plaintiff counsel that Allstate had a no pay

      position on the underlying claim.

  24. On February 7, 2022, all counsel conducted the de bene esse

      trial testimony of Dr. Andrew Grass, M.D.

  25. February 21, 2022, all counsel conducted the de bene esse

      trial testimony of plaintiff expert Dr. Peter Pryzbylkowski,

      M.D.

  26. On February 8, 2022, all counsel conducted the de bene esse

      trial testimony of plaintiff expert Dr. Andrew S. Glass, M.D.

  27. The trial testimony of plaintiff’s experts was supportive of

      plaintiff’s position that she suffered serious and permanent

      injuries as a result of the January 16, 2019 crash with a

      credible demeanor and presentation.

  28. Defendant    Allstate   had   previously   retained    as   an   expert

      Orthopedic Surgeon Dr. John A. Cristini, M.D., who concluded

      that Plaintiff had permanent spinal damage, but opined that


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      it was not related to the accident.

  29. On February 17, 2022, the parties conducted the de bene esse

      trial testimony of defense expert Dr. Cristini.

  30. As part of his testimony, Dr. Cristini made a number of

      damaging admissions including providing that upon review of

      post-accident diagnostic studies he saw additional findings

      not addressed in his narrative report(s) that could have been

      caused by the accident.

  31. Upon information and belief, this information was relayed to

      Defendant as part of their claims evaluation process.

  32. Defendant Allstate Insurance Company has a responsibility in

      its evaluation of claims to act fairly and in good faith

      consistent with its common law and contractual obligations

      and must be a thoroughly honest, intelligent, and objective

      one.

  33. This responsibility encompasses considering not just those

      facts favorable to the defense or the view of the carrier or

      its counsel, but consideration of the anticipated range of a

      verdict, the strengths and weaknesses of all the evidence to

      be presented, the relative appearance and persuasiveness of

      the witnesses, and what a jury could be justified in finding

      from the evidence to be presented.

  34. Defendant    Allstate    Insurance   Company   is   a   sophisticated

      corporate    entity   engaged   in   the   insurance    industry   with


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      decades of experience in adjusting and evaluating claims

      generally, and personal injury claims arising from automobile

      accidents specifically.

  35. Defendant Allstate Insurance Company obtains regular updates

      regarding the status of paper discovery, depositions, expert

      discovery, de bene esse depositions, trial developments, and

      new developments generally in litigation.

  36. Upon information and belief, Defendant Allstate Insurance

      Company obtained such updates in the instant matter after the

      enactment of the IFCA as the treatment of plaintiff continued,

      the parties obtained expert trial testimony, and otherwise

      prepared for trial.

  37. At   a   December   23,   2022   telephonic   management   conference

      before the Honorable Sarah Beth Johnson, J.S.C. a trial date

      for February 2, 2023 was set.

  38. On January 30, 2023, counsel for Plaintiff reached out to

      counsel for Defendant to ascertain Allstate’s settlement

      position given the expert trial testimony obtained and the

      ongoing treatment of Elizabeth Roach.

  39. In response, defense counsel stated that Allstate was denying

      the claim and not offering anything towards the settlement of

      the case.

  40. The matter proceeded to trial on February 6, 2023, and

      resulted in a February 8, 2023 verdict in favor of Plaintiff


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      Elizabeth    Roach     in       the    amount      of   four    million   dollar

      ($4,000,000).

  41. On February 22, 2023, the Court entered Judgment molding the

      verdict     based     on    the       underlying        Uninsured/Underinsured

      Motorist Coverage without prejudice to any bad faith rights

      or claims of Plaintiff. See Order Entering Judgment, Attached

      as Exhibit C.

                  COUNT I – COMMON LAW BAD FAITH
  ELIZABETH ROACH v. ALLSTATE INSURANCE COMPANY, JOHN DOE (1-10)
   fictitious names, and JOHN DOE, INC. (1-10) fictitious names

  42. Plaintiff incorporates the prior paragraphs of the Complaint

      by reference as if fully stated herein.

  43. This Count is pled pursuant to common law obligations related

      to fiduciary duty and/or good faith and fair dealing.

  44. Defendant Allstate Insurance Company’s no-pay position in the

      instant matter ignored, discounted, and/or failed to take

      into consideration the totality of the evidence and what a

      reasonable    trier        of   fact       might   determine     based    on   the

      significance     of    the      injuries      claimed      by   Plaintiff,     the

      absence of meaningful similar issues in Plaintiff’s prior

      medical history, the testimony of Plaintiff regarding the

      severity of the impact the accident had on her life, and the

      testimony of Plaintiff’s experts concluding that Plaintiff

      suffered serious and permanent spinal injuries as a result of

      the subject accident.


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  45.    Throughout       the   course     of       this    litigation,        Plaintiff

        submitted more than sufficient evidence of the seriousness

        and permanency of her injuries and that they were proximately

        caused by the subject accident.

  46. More specifically, there was no liability dispute in the

        instant matter with Plaintiff being struck by a drunk driver

        at a high rate of speed.

  47. The crash resulted in significant property damage to her

        vehicle,    presentation      to          the   hospital,    and   subsequent

        complaints and treatment distinct from anything in her prior

        medical records.

  48. Plaintiff who was 69 years old at the time of the crash,

        testified as to the debilitating impact her injuries had on

        her life and ability to help care for her grandchild who lived

        with her.

  49. Plaintiff also provided the expert reports and testimony

        opining that she suffered serious and permanent injuries as

        a result of the January 16, 2019 crash.

  50. Allstate      Insurance      Company’s            conduct     in   the     instant

        litigation represents an unreasonable denial of Plaintiff’s

        claims in violation of their contractual and/or common law

        duties of good faith and fair dealing because it failed to

        consider    the    totality      of       the   facts,    disregarded     facts

        favorable to plaintiff, and failed to take into account what


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       a reasonable jury would be justified in finding in the instant

       matter.

   51. As a result of the tortious conduct of Donald Walsh and

       Defendant       Allstate’s    misconduct         as    more    specifically

       delineated herein, Plaintiff was caused to suffer a violation

       of the duty of good faith and fair dealing, and consequential

       and    actual      damages   as     determined    by     the   jury,     incur

       significant attorneys’ fees and costs associated with the

       pursuit of her underlying claim, prejudgment interest, and

       has suffered significant emotional distress, upset, anxiety,

       and worry due to the misconduct of Defendant Allstate.


       WHEREFORE,      plaintiff    demands     judgment      in    her    favor   and

 against defendant Allstate Insurance Company, John Doe (1-10)

 fictitious names, and John Doe, Inc. (1-10) fictitious names

 individually, jointly, severally, and in the alternative in an

 amount sufficient to compensate her for her damages under the laws

 of   the    State   of    New   Jersey,    together     with      costs   of   suit,

 prejudgment and post-judgment interest, and reasonable counsel

 fees and such further relief as the Court may deem just and

 appropriate.




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                   COUNT II – STATUTORY BAD FAITH
   ELIZABETH ROACH v. ALLSTATE INSURANCE COMPANY, JOHN DOE (1-10)
    fictitious names, and JOHN DOE, INC. (1-10) fictitious names

   52. Plaintiff incorporates the prior paragraphs of the Complaint

       by reference as if fully stated herein.

   53. This Count is pled pursuant to the New Jersey Insurance Fair

       Conduct Act (“IFCA”) N.J.S.A. 17:29BB-1, et seq.

   54. On January 18, 2022, Governor Philip D. Murphy signed the

       IFCA into law.

   55. On January 26, 2022, counsel for Plaintiff contacted counsel

       for Defendant to ascertain the position of Allstate Insurance

       Company as to settlement in the instant matter.

   56. In   response,   defense   counsel   conveyed   that   Allstate   was

       taking a no-pay position.

   57. Thereafter, the parties obtained the trial testimony of their

       respective experts.

   58. Furthermore, Elizabeth Roach continued to undergo treatment

       with the records related thereto being provided to the defense

       in discovery.

   59. After a number of adjournments, trial was scheduled for

       February 2023.

   60. On January 26, 2023, plaintiff counsel reached out to defense

       counsel to ascertain Allstate’s settlement position given the

       expert testimony that had been elicited and the ongoing

       treatment of Elizabeth Roach.


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   61. In response, defense counsel stated that Allstate was taking

       a no-pay position and denying the claim.

   62. Defendant    Allstate   Insurance      Company’s    January   26,   2022

       statement, by and through defense counsel, that it was taking

       a no-pay position, was a denial of the instant claim that

       occurred subsequent to the enactment of the IFCA.

   63. Additionally and/or in the alternative, such communication

       and/or position was a delay of the instant matter because it

       resulted in a year of further litigation culminating in a

       trial in February of 2023.

   64. Furthermore, after the enactment of the IFCA on January 18,

       2022, the instant litigation continued with ongoing treatment

       and the testimony of the parties’ experts being obtained in

       advance of trial.

   65. Upon   information     and   belief,   Allstate     Insurance   Company

       received reports and updates regarding the status of the

       underlying    matter    throughout     2022   and   through   trial   in

       February of 2023.

   66. Given the additional information received and/or reviewed by

       Allstate Insurance Company, consisting of ongoing treatment

       and the trial testimony elicited by the experts for plaintiff

       and the defense, Allstate’s January 30, 2023 no-pay position

       represents a discrete and separate denial of the claim that

       occurred after the enactment of the IFCA.


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   67. Additionally, and/or in the alternative, such denial resulted

         in further delay of the matter through to trial in February

         of 2023.

   68.    Throughout the course of this litigation and through to

         trial, Plaintiff submitted more than sufficient evidence of

         the seriousness and permanency of her injuries and that they

         were proximately caused by the subject accident such that

         reasonable    minds      could    conclude      that     Allstate      Insurance

         Company     acted   in   bad     faith   in     that     its    investigation,

         evaluation,       and    processing       of     Plaintiff’s          claim   for

         Uninsured/Underinsured Motorist Benefits was unreasonable.

   69. Allstate       Insurance      Company’s          conduct    in     the     instant

         litigation represents an unreasonable denial of Plaintiff’s

         claims for benefits pursuant to N.J.S.A. 17:29BB-1, et seq.

   70. As a result of the tortious conduct of Donald Walsh and

         Defendant     Allstate’s         misconduct       as     more     specifically

         delineated herein, Plaintiff was caused to suffer a violation

         of her statutory rights, actual damages as determined by the

         jury, prejudgment interest, incur significant attorneys’ fees

         and costs associated with the pursuit of her underlying claim,

         and   has   suffered     significant      emotional        distress,      upset,

         anxiety,    and     worry   due    to    the    misconduct       of    Defendant

         Allstate.




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       WHEREFORE,    plaintiff    demands     judgment   in    her    favor   and

 against defendant Allstate Insurance Company, John Doe (1-10)

 fictitious names, and John Doe, Inc. (1-10) fictitious names

 individually, jointly, severally, and in the alternative in an

 amount sufficient to compensate her for her damages under the laws

 of   the   State   of   New   Jersey,    together   with     costs   of   suit,

 prejudgment and post-judgment interest, and reasonable counsel

 fees and such further relief as the Court may deem just and

 appropriate.


                                     BARRY, CORRADO & GRASSI, P.C.
                                     Attorneys for plaintiff



                               By:
 Dated: December 29, 2023            OLIVER T. BARRY, ESQUIRE




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                       DESIGNATION OF TRIAL COUNSEL

       The Court is advised that Oliver T. Barry, Esq. is hereby

 designated as trial counsel.


                                 JURY DEMAND

       Plaintiff hereby demands trial by jury of the damages and

 punitive damage and all issues involved in this action.


                                    BARRY, CORRADO & GRASSI, P.C.


                                    __________________________
                                    OLIVER T. BARRY, ESQUIRE
                                     Attorney for plaintiff


 Dated: December 29, 2023




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                            EXHIBIT A
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 Attorneys for Plaintiff

 ELIZABETH ROACH and NORMAN ROACH,                SUPERIOUR COURT OF NEW JERSEY
           Plaintiffs,                           CAPE MAY COUNTY – LAW DIVISION
                                                        DOCKET NO.: CPM-L
 v.
                                                             CIVIL ACTION
 DONALD WALSH, MARGARET WILKINSON,
 JOHN DOE (1-10) fictitious names, COMPLAINT, JURY DEMAND, DEMAND
 and John Doe, Inc. (1-10)           FOR PRODUCTION OF DOCUMENTS,
 fictitious names,                 DEMAND FOR FORM C AND C(2) UNIFORM
           Defendants.              INTERROGATORIES, SUPPLEMENTAL
                                   INTERROGATORIES, AND DEMAND FOR
                                         INSURANCE INFORMATION

 Plaintiffs by way of complaint against defendants, hereby state:

   1.    Plaintiff Elizabeth Roach is an adult individual currently

         residing in the City of Cape May, County of Cape May, State of

         New Jersey.

   2.    Plaintiff Elizabeth Roach is an adult individual currently

         residing in the City of Cape May, County of Cape May, State of

         New Jersey.

   3.    Defendant     Donald    Walsh   is     an   adult   individual     currently

         residing in the City of Cape May, County of Cape May, State of

         New Jersey.

   4.    Defendant Margaret Wilkinson is an adult individual currently

         residing in the City of Cape May, County of Cape May, State of

         New Jersey.
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   5.    John Doe (1-10) fictitious names are heretofore unidentified

         individuals who operated and/or owned the vehicle that struck

         Plaintiff and/or were negligence or otherwise responsible for

         the damages to Plaintiff outlined herein.

   6.    John       Doe,   Inc.    (1-10)   fictitious    names    are   heretofore

         unidentified legal entities who were negligence or otherwise

         responsible for the damages to plaintiff outlined herein.

   7.    On January 16, 2019, Defendant Elizabeth Roach was operating

         a 2011 Lexus ES car travelling west on Breakwater Road near the

         intersection with Shunpike Road.

   8.    On January 16, 2019, Defendant Donald Walsh and/or John Doe

         (1-10) fictitious names was a permissive user operating a 2010

         Ford Edge owned by Defendant Margaret Wilkinson and/or John Doe

         (1-10) fictitious names travelling behind Plaintiff Elizabeth

         Roach west on Breakwater Road near the intersection with

         Shunpike Road.

   9.    Plaintiff Elizabeth Roach stopped for traffic.

   10. Defendant Donald Walsh’s car crashed into the rear of Plaintiff

         Elizabeth Roach’s car.

   11. As       a    result   of     the    negligence,    carelessness,      and/or

         recklessness of defendant(s), plaintiff was caused to suffer

         bodily injury and other losses including, but not limited to

         permanent scarring and disfigurement, a loss of earnings and

         a depreciation of earning capacity, loss of activities, mental

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       pain     and    suffering,      psychological/psychiatric           injury,

       embarrassment, humiliation and degradation, the loss of the

       normal pleasures and enjoyment of life, as well as having to

       receive and undergo medical attention and has come to expend

       various sums of money and to incur various expenses for the

       injuries suffered and may have to expend such sums in the future

       and is entitled to reimbursement for medical expenses including

       but not limited to, out of pocket expenses, deductible and

       co-payment out of pocket expenses, all health insurance liens,

       Medicare liens, Medicaid liens, and any other reimbursement due

       for any reasonable and necessary medical expenses incurred or

       to be incurred as a result of this incident.

                        COUNT I – NEGLIGENCE
 ELIZABETH ROACH v. DONALD WALSH & JOHN DOE (1-10) fictitious names

   12. Plaintiff incorporates the prior paragraphs of the Complaint

       here by reference.

   13. Donald Walsh and/or John Doe (1-10) fictitious names was a

       permissive user of the vehicle he was operating.

   14. Donald Walsh failed to exercise reasonable care in that he

       failed to pay attention, failed to keep a proper lookout,

       followed too closely, was travelling at an unsafe rate of speed,

       and/or as discovery may reveal.

   15. Defendant’s negligence was the actual and proximate cause of

       the collision.

   16. As a proximate and actual result of defendant’s negligence,
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       Plaintiff Elizabeth Roach suffered bodily injury and/or other

       harm as delineated herein.



       WHEREFORE, plaintiff Elizabeth Roach demands judgment in her

 favor and against defendants Donald Walsh, Margaret Wilkinson, John

 Doe (1-10) fictitious names, and John Doe, Inc. (1-10) fictitious

 names individually, jointly, severally, and in the alternative in

 an amount sufficient to compensate her for her damages under the laws

 of the State of New Jersey, together with costs of suit, reasonable

 counsel fees and such further relief as the Court may deem just and

 appropriate.

                       COUNT II – NEGLIGENCE
 ELIZABETH ROACH v. MARGARET WILKINSON, JOHN DOE (1-10) fictitious
           names, JOHN DOE, INC. (1-10) fictitious names

   17. Plaintiff incorporates the prior paragraphs of the Complaint

       here by reference.

   18. The subject 2010 Ford Edge was owned by Defendant Margaret

       Wilkinson and/or John Doe (1-10) fictitious names, and/or John

       Doe, Inc. (1-10) fictitious names.

   19. The operator of the subject vehicle, Donald Walsh and/or John

       Doe (1-10) fictitious names was, as of the date and time of the

       collision, acting as an agent, servant, employee, or otherwise

       acting on behalf of defendants Margaret Wilkinson, and/or John

       Doe (1-10) fictitious names, and/or John Doe, Inc. (1-10)

       fictitious names.

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   20. Additionally and in the alternative, Defendants Margaret

       Wilkinson, and/or John Doe (1-10) fictitious names, and/or John

       Doe, Inc. (1-10) fictitious names were independently negligent

       in that they knew or should have known of Defendant Donald Walsh

       and/or John Doe (1-10) fictitious names’ history of driving

       while intoxicated and/or that he was otherwise a dangerous

       driver.

   21. As a proximate result of Defendants’ negligence, Plaintiff

       Elizabeth Roach was caused to suffer harm.



       WHEREFORE, plaintiff Elizabeth Roach demands judgment in her

 favor and against defendants Donald Walsh, Margaret Wilkinson, John

 Doe (1-10) fictitious names, and John Doe, Inc. (1-10) fictitious

 names individually, jointly, severally, and in the alternative in

 an amount sufficient to compensate her for her damages under the laws

 of the State of New Jersey, together with costs of suit, reasonable

 counsel fees and such further relief as the Court may deem just and

 appropriate.

                   COUNTY III – LOSS OF CONSORTIUM
 NORMAN ROACH v. DONALD WALSH, MARGARET WILKINSON, JOHN DOE (1-10)
      fictitious names, JOHN DOE, INC. (1-10) fictitious names


   22. Plaintiff incorporates the prior paragraphs of the Complaint

       here by reference.

   23. Norman Roach is the legally married spouse of Elizabeth Roach.

   24. As a result of Defendants’ negligence and the serious injury
                                  5
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       to Elizabeth Roach, Norman Roach has suffered a loss of

       impairment of the services, society, and consortium of his

       spouse.


       WHEREFORE, plaintiff Norman Roach demands judgment in her favor

 and against defendants Donald Walsh, Margaret Wilkinson, John Doe

 (1-10) fictitious names, and John Doe, Inc. (1-10) fictitious names

 individually, jointly, severally, and in the alternative in an amount

 sufficient to compensate her for her damages under the laws of the

 State of New Jersey, together with costs of suit, reasonable counsel

 fees and such further relief as the Court may deem just and

 appropriate.

                   COUNTY IV – PUNITITVE DAMAGES
 ELIZABETH ROACH v. DONALD WALSH, JOHN DOE (1-10) fictitious names

   25. Plaintiff incorporates the prior paragraphs of the Complaint

       here by reference.

   26. Defendant Donald Walsh was intoxicated at the time of the

       subject accident.

   27. The collision was caused by Donald Walsh’s unlawful operation

       of the subject vehicle while intoxicated.

   28. Defendant Donald Walsh has a history of driving under the

       influence of drugs or alcohol, for which he has previously been

       convicted/pled guilty to driving while intoxicated.

   29. Defendant Donald Walsh’s consumption of a substantial amount

       of alcohol prior to operating his vehicle the day of the

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       collision, combined with his history and knowledge with respect

       to alcoholism, the consumption of alcohol, and his convictions

       for    driving     while    intoxicated      combined      to    constitute

       intentional wrongdoing in the sense of an “evil minded act”

       accompanied a wanton and willful disregard for the safety of

       Plaintiff Elizabeth Roach, as well as other motorists and

       pedestrians.

   30. Any resulting judgment from Defendant Donald Wilson is not

       dischargeable in bankruptcy, due to 11 U.S.C. 523(a)(6), (9),

       because of Defendant’s unlawful operation of a motor vehicle

       due   to   intoxication      resulting     in   injuries    to   Plaintiff

       Elizabeth Roach.



       WHEREFORE, plaintiff Elizabeth Roach demands judgment in her

 favor and against defendants Donald Walsh for Punitive Damages under

 the laws of the State of New Jersey, together with costs of suit,

 reasonable counsel fees and such further relief as the Court may deem

 just and appropriate.


                                        BARRY, CORRADO, GRASSI
                                        & GILLIN-SCHWARTZ, P.C.
                                        Attorneys for plaintiff



                                  By:
                                        Oliver T. Barry, ESQUIRE
 Dated: December 9, 2019


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                             DEMAND FOR JURY TRIAL
       Jury trial is demanded on all issues raised herein.


                        DESIGNATION OF TRIAL COUNSEL

       TAKE NOTICE that Oliver T. Barry, Esquire is hereby designated
 as trial counsel in the above captioned litigation for the firm of
 Barry, Corrado, Grassi & Gillin-Schwartz, P.C. pursuant to R. 4:5-1.


                            R. 4:5-1 CERTIFICATION
       I certify the matter in controversy is not the subject of any
 other action pending in any court or of a pending arbitration
 proceeding, and no other action or arbitration proceeding is
 contemplated, except as follows:             None.
       There are no other known necessary parties, other than any
 presently unknown defendants, designated herein as fictitious
 defendants, John Does 1-10.


                     CONFIDENTIAL PERSONAL IDENTIFIERS
       I certify that confidential personal identifiers have been
 redacted from documents now submitted to the court, and will be
 redacted from all documents submitted in the future in accordance
 with Rule 1:38-7(b).


                      DEMAND FOR INSURANCE INFORMATION
       PLEASE TAKE NOTICE that pursuant to R. 4:10-2(b), plaintiff
 hereby demands production of a copy of any and all insurance
 agreements, COMPLETE COPIES OF THE POLICIES AND NOT MERELY THEIR
 DECLARATION PAGES, under which defendant(s) may be covered to satisfy
 part of all of any judgement which may be entered in this matter and/or
 to defend, indemnify, or reimburse defendant.


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               DEMAND FOR ANSWERS TO FORM INTERROGATORIES
       PLEASE TAKE NOTE that pursuant to R. 4:17-1(b)(ii) demand is
 hereby made for answers to Uniform Interrogatories as set forth in
 Appendix II to the Rules Governing the Courts of the State of New
 Jersey and within the time prescribed by the Rules of this Court.


                                       BARRY, CORRADO, GRASSI &
                                       GILLIN-SCHWARTZ, P.C.
                                       Attorneys for plaintiff


                                 By:
                                       OLIVER T. BARRY, ESQUIRE
 Dated: December 9, 2019




                                          9
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                         Civil Case Information Statement
 Case Details: CAPE MAY | Civil Part Docket# L-000480-19

 Case Caption: ROACH ELIZABETH VS WALSH DONALD                    Case Type: AUTO NEGLIGENCE-PERSONAL INJURY (VERBAL
 Case Initiation Date: 12/09/2019                                 THRESHOLD)
 Attorney Name: OLIVER T BARRY                                    Document Type: Complaint with Jury Demand
 Firm Name: BARRY CORRADO, GRASSI & GILLIN-                       Jury Demand: YES - 6 JURORS
 SCHWARTZ, PC                                                     Is this a professional malpractice case? NO
 Address: 2700 PACIFIC AVE                                        Related cases pending: NO
 WILDWOOD NJ 08260                                                If yes, list docket numbers:
 Phone: 6097291333                                                Do you anticipate adding any parties (arising out of same
 Name of Party: PLAINTIFF : Roach, Elizabeth                      transaction or occurrence)? NO
 Name of Defendant’s Primary Insurance Company
 (if known): ALLSTATE NEW JERSEY INS CO



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO                     Title 59? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 12/09/2019                                                                                            /s/ OLIVER T BARRY
 Dated                                                                                                              Signed
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                            EXHIBIT B
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 SUZANNE PASLEY, ESQUIRE
 Attorney ID # 024041983
 BARRY, CORRADO, GRASSI & GILLIN-SCHWARTZ, P.C.
 2700 Pacific Avenue
 Wildwood, New Jersey 08260
 (P) (609) 729-1333 (F) (609) 522-4927
 spasley@capelegal.com
 Attorneys for Plaintiffs

 ELIZABETH ROACH and NORMAN ROACH,              SUPERIOUR COURT OF NEW JERSEY
           Plaintiffs,                         CAPE MAY COUNTY - LAW DIVISION
                                                   DOCKET NO.: CPM-L-480-19
 v.                                                      CIVIL ACTION

                                               AMENDED COMPLAINT, JURY DEMAND,
 DONALD WALSH, MARGARET WILKINSON,              AND WITH RESPECT TO DEFENDANT
 ALLSTATE INSURANCE COMPANY, and                  ALLSTATE INSURANCE COMPANY,
 JOHN DOES (1-10) Fictitious                       REQUEST FOR PRODUCTION OF
 Parties                                      DOCUMENTS, DEMAND FOR FORM C AND
                                                 C(1)UNIFORM INTERROGATORIES,
               Defendants                     SUPPLEMENTAL INTERROGATORIES, AND
                                              DEMAND FOR INSURANCE INFORMATION

 Plaintiffs, by way of Amended Complaint against defendants, hereby

 state:

   1.    Plaintiff Elizabeth Roach is an adult individual currently

         residing in the Township of Lower, County of Cape May, State

         of New Jersey.

   2.    Plaintiff    Norman    Roach    is   an   adult   individual     currently

         residing in the Township of Lower, County of Cape May, State

         of New Jersey.

   3.    Defendant    Donald    Walsh    is   an   adult   individual     currently

         residing in the Township of Lower, County of Cape May, State

         of New Jersey.

   4.    Defendant Margaret Wilkinson is an adult individual currently
                                    1
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         residing in the Township of Lower, County of Cape May, State

         of New Jersey.

   5.    John Doe (1-10) are fictitious parties, persons or entities.

                                       COUNT I
                                     NEGLIGENCE

   6.    Plaintiffs incorporate the previous paragraphs of the Amended

         Complaint by reference.

   7.    On January 16, 2019, Elizabeth Roach was operating her vehicle

         travelling west on Breakwater Road near the intersection with

         Shunpike Road in Lower Township, New Jersey.

   8.    At the same time and place, Donald Walsh was operating a vehicle

         owned by Margaret Wilkinson, and was also traveling west on

         Breakwater Road.

   9.    Elizabeth Roach stopped for traffic, and defendant Donald

         Walsh’s car crashed into the rear of her car, causing her serious

         bodily injury.

   10. Donald Walsh failed to exercise reasonable care in that he

         failed to pay attention, failed to keep a proper lookout,

         followed too closely, was travelling at an unsafe rate of speed,

         operated his car while intoxicated, and/or failed to otherwise

         act prudently as discovery may reveal.

   11. Donald Walsh was negligent, and his negligence is a proximate

         cause of injury to Elizabeth Roach.

   12. Margaret Wilkinson owned the vehicle operated by Donald Walsh,

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       who at the time of the accident was acting as her agent, servant

       and/or employee.

   13. Margaret Wilkinson knew or should have known that Donald Walsh

       was intoxicated at the time he was driving her vehicle, and knew

       or should have known of Donald Walsh’s history of driving while

       intoxicated, and/or that he was otherwise a dangerous driver.

   14. The negligence of Margaret Wilkinson is a a proximate cause of

       injury to Elizabeth Roach.

   15. As   a   direct    and    proximate     result    of    the   negligence,

       carelessness, and/or recklessness of defendants Donald Walsh

       and Margaret Wilkinson, plaintiff Elizabeth Roach sustained and

       suffered personal injury, both temporary and permanent in

       nature; has experienced and will continue to experience pain,

       suffering, and disability; has been prevented from and will

       continue to be prevented from performing and engaging in her

       everyday activities; has sustained economic loss, including a

       loss of earnings and a depreciation of earning capacity;

       sustained mental pain and suffering, psychological/psychiatric

       injury, embarrassment, humiliation and degradation; the loss

       of the normal pleasures and enjoyment of life; as well as having

       to receive and undergo medical attention; and has come to expend

       various sums of money and to incur various expenses for the

       injuries suffered, and may have to expend such sums in the

       future, and is entitled to reimbursement for medical expenses
                                   3
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         including   but    not   limited    to,   out   of   pocket    expenses,

         deductibles and co-payments, all health insurance liens,

         Medicare liens, Medicaid liens, and any other reimbursement due

         for any reasonable and necessary medical expenses incurred or

         to be incurred as a result of this incident.

                                     COUNT II
                           UNDERINSURED MOTORIST CLAIM

   16. Plaintiffs incorporate the previous paragraphs of the Amended

         Complaint by reference.

   17. On January 16, 2019, Elizabeth Roach and Norman Roach were

         insured under a policy of automobile insurance issued by

         defendant Allstate Insurance Company, which policy provided

         underinsured motorist coverage.

   18. Plaintiffs Elizabeth Roach and Norman Roach are legally and

         contractually entitled to underinsured motorist coverage under

         that policy and make a claim for underinsured motorist benefits

         under that policy.

   19.    This claim for underinsured motorist benefits under this

         policy is being filed within the six-year limitations period

         for such claims.

                               COUNT III
                          LOSS OF CONSORTIUM
   20. Plaintiffs incorporate the previous paragraphs of the Amended

         Complaint by reference.

   21. As of January 16, 2019, Norman Roach was the husband of Elizabeth

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       Roach, and has been for all times thereafter.

   22. Due to the injuries of Elizabeth Roach, referenced herein,

       Norman Roach has suffered a loss of consortium as the injuries

       to his wife have impacted him, caused him to have to take care

       of his wife, and/or have otherwise impacted the quality of his

       marriage.

                                 COUNT IV
                    JOHN DOES 1-10, FICTITIOUS PARTIES

   23. Plaintiffs incorporate the previous paragraphs of the Amended

       Complaint by reference.

   24. John Does 1-10, fictitious parties, are persons or entities,

       whose   identities     are   not   yet   known    despite       reasonable

       diligence to discover them, and who negligently operated and/or

       owned a motor vehicle[s] at the time and place in question;

       and/or who negligently entrusted or leased a motor vehicle to

       defendant Donald Walsh; and/or who failed to maintain a vehicle

       involved in the accident; and/or who were otherwise negligent,

       and whose negligence proximately caused plaintiff’s personal

       injury to Elizabeth Roach and a loss of consortium to Norman

       Roach; and/or of whom defendant Donald Walsh was an agent,

       servant, and/or employee, and who may be vicariously liable for

       plaintiffs’     damages;     and/or    who   negligently,     carelessly,

       and/or recklessly supplied alcohol to Donald Walsh as a social

       host or under NJ Liquor Liability Law.

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   25. As a direct and proximate result of the negligence of defendants

       John Does 1-10, fictitious parties, persons or entities,

       plaintiff Elizabeth Roach sustained and suffered personal

       injury, both temporary and permanent in nature; has experienced

       and   will    continue     to   experience        pain,    suffering,     and

       disability; has been prevented from and will continue to be

       prevented    from    performing       and   engaging      in   her    everyday

       activities; has sustained economic loss, including a loss of

       earnings and a depreciation of earning capacity; sustained

       mental pain and suffering, psychological/psychiatric injury,

       embarrassment, humiliation and degradation; the loss of the

       normal pleasures and enjoyment of life; as well as having to

       receive and undergo medical attention; and has come to expend

       various sums of money and to incur various expenses for the

       injuries suffered, and may have to expend such sums in the

       future, and is entitled to reimbursement for medical expenses

       including    but    not   limited     to,   out    of     pocket     expenses,

       deductibles and co-payments, all health insurance liens,

       Medicare liens, Medicaid liens, and any other reimbursement due

       for any reasonable and necessary medical expenses incurred or

       to be incurred as a result of this incident; and plaintiff Norman

       Roach has suffered a loss of consortium.




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         WHEREFORE, plaintiff Elizabeth Roach demands judgment in her

   favor and against defendants Donald Walsh, Margaret Wilkinson,

   Allstate Insurance Company, and              John Does (1-10), fictitious

   parties, persons or entities, individually, jointly, severally, and

   in the alternative in an amount sufficient to reasonably and

   properly    compensate    her   for   pain    and    suffering,   impairment,

   disability, loss of enjoyment of life, medical and economic losses;

   and    plaintiff   Norman    Roach    demands       judgment   against    these

   defendants for such sums as will reasonably compensate him for loss

   of consortium, together with interest and costs; and such other

   relief the Court deems equitable and just, in accordance with the

   laws of the State of New Jersey.

                                    COUNT V
                               PUNITITVE DAMAGES

   26. Plaintiffs incorporate the previous paragraphs of the Amended

         Complaint by reference.

   27. Defendant Donald Walsh was intoxicated at the time of the

         subject accident.

   28. The collision was caused by Donald Walsh’s unlawful operation

         of the subject vehicle while intoxicated.

   29. Defendant Donald Walsh has a history of driving under the

         influence of drugs and/or alcohol, for which he has previously

         been convicted/pled guilty to driving while intoxicated.

   30. Defendant Donald Walsh’s consumption of a substantial amount

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       of alcohol prior to operating his vehicle the day of the

       collision, combined with his history and knowledge with respect

       to alcoholism, his consumption of alcohol, and his convictions

       for   driving     while     intoxicated      combined     to    constitute

       intentional wrongdoing in the sense of an “evil-minded act” and

       accompanied a wanton and willful disregard for the safety of

       plaintiff Elizabeth Roach, as well as other motorists and

       pedestrians.

   31. Any resulting judgment against defendant Donald Walsh is not

       dischargeable in bankruptcy, under 11 U.S.C. 523(a)(6), (9),

       because of his unlawful operation of a motor vehicle due to

       intoxication resulting in injuries to plaintiff Elizabeth

       Roach.



       WHEREFORE, plaintiffs Elizabeth Roach and Norman Roach demand

 judgment in their favor and against defendant Donald Walsh for

 punitive damages under the laws of the State of New Jersey, together

 with costs of suit, reasonable counsel fees, and such further relief

 as the Court may deem just and appropriate.


                                       BARRY, CORRADO, GRASSI
                                       & GILLIN-SCHWARTZ, P.C.


                                 By:
 Dated: May 22, 2020             Suzanne Pasley, Esquire


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                            DEMAND FOR JURY TRIAL
       Jury trial is demanded on all issues raised herein.

                        DESIGNATION OF TRIAL COUNSEL

       TAKE NOTICE that Oliver T. Barry, Esquire is hereby designated
 as trial counsel in the above captioned litigation for the firm of
 Barry, Corrado, Grassi & Gillin-Schwartz, P.C. pursuant to R. 4:5-1.

                            R. 4:5-1 CERTIFICATION
       I certify the matter in controversy is not the subject of any
 other action pending in any court or of a pending arbitration
 proceeding, and no other action or arbitration proceeding is
 contemplated, except as follows:            None.
       There are no other known necessary parties, other than any
 presently unknown defendants, designated herein as fictitious
 defendants, John Does 1-10.

                DEMAND FOR INSURANCE INFORMATION FROM
                 DEFENDANT ALLSTATE INSURANCE COMPANY
       PLEASE TAKE NOTICE that pursuant to R. 4:10-2(b), plaintiff
 hereby demands production of a copy of any and all insurance
 agreements, COMPLETE COPIES OF THE POLICIES AND NOT MERELY THEIR
 DECLARATION PAGES, under which defendant(s) may be covered to satisfy
 part of all of any judgement which may be entered in this matter and/or
 to defend, indemnify, or reimburse defendant.

          DEMAND FOR ANSWERS TO UNIFORM INTERROGATORIES FROM
                 DEFENDANT ALLSTATE INSURANCE COMPANY
       PLEASE TAKE NOTE that pursuant to R. 4:17-1(b)(ii) demand is
 hereby made for answers to Uniform Interrogatories Form C and C(1)
 as set forth in Appendix II to the Rules Governing the Courts of the
 State of New Jersey and within the time prescribed by the Rules of
 this Court.

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         DEMAND FOR ANSWERS TO SUPPLEMENTAL INTERROGATORIES FROM
                   DEFENDANT ALLSTATE INSURANCE COMPANY

         PLEASE TAKE NOTE that pursuant to R. 4:17-1, demand is hereby
 made for answer to the following supplemental interrogatories:
   1.    Please state whether there is any bona fide dispute as to the
         authenticity of any and all medical bills, obtained through
         discovery by either party, for treatment received due to the
         subject accident?       If so, set forth the factual basis for such
         dispute.
   2.    Please state whether there is any bona fide dispute as to the
         treatment reflected in any and all medical bills, obtained
         through discovery by either party, for treatment received due
         to the subject accident being causally related to the accident?
         If so, set forth the factual basis for such dispute.
   3.    Please state whether there is any bona fide dispute as to
         treatment reflected in any and all medical bills, obtained
         through discovery by either party, for treatment received being
         medically necessary?        If so, set forth the factual basis for
         such dispute.
   4.    Please state whether there is any bona fide dispute as to the
         amounts reflected in any and all medical bills, obtained through
         discovery     by   either   party,     for   treatment    received    being
         reasonable and customary?         If so, set forth the factual basis
         for such dispute.
   5.    Identify and provide a copy of any and all material, journal
         articles, studies, treatises, or other material relied upon
         and/or cited by defendant’s experts in relation to any reports
         or conclusions rendered in this matter.




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                REQUEST FOR THE PRODUCTION OF DOCUMENTS FROM
                    DEFENDANT ALLSTATE INSURANCE COMPANY

         PLEASE TAKE NOTICE that pursuant to R. 4:18-1, plaintiff demands
 the production of the following documents to counsel for plaintiff,
 Barry, Corrado, Grassi & Gillin-Schwartz, P.C., located at 2700
 Pacific Avenue Wildwood, New Jersey within 35 days of the filing of
 an answer in this matter as follows in the schedule below.
         PLEASE BE ADVISED that should defendant object to any of the
 below requests for production on the basis of privilege, plaintiff
 demands the production of a privilege log delineating the documents
 withheld and the nature of the privilege asserted.
   1.    A copy of any and all accident/incident reports or other
         documentation prepared by any agent, servant, or employee of
         defendants contemporaneously with the incident or incidents
         that relate to this complaint.
   2.    All    insurance      agreements       and   policies     maintained       by
         defendant(s) effective as of the date of the accident/incident
         at issue in accordance with R. 4:10-2(b).
   3.    Copies of any and all statements of any party to this action,
         their agents, servants, or employees.
   4.    Copies of any and all statements by any eyewitnesses or any other
         witness statements relevant to the subject matter of the instant
         litigation.
   5.    Copies of any and all expert reports pertaining to liability,
         damages, or otherwise.
   6.    Copies of any and all photographs, sketches, diagrams,
         videotapes, recordings, or other documentary evidence of the
         plaintiff generally and also pertaining to the underlying
         incident.
   7.    Copies of any and all expert reports pertaining to liability,
         damages, or otherwise, as well as a copy of the Curriculum Vitae,

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         of any and all experts that have supplied reports, whose
         testimony will be offered at the trial of the above matter.
   8.    Any and all articles, books, treatises, commentaries, reports,
         statutes, codes, ordinances, rules, regulations or other
         published documents referred to and/or utilized by or relied
         upon by any expert witness intended to be called at trial.
   9.    Any and all blueprints, charts, diagrams, drawings, graphs,
         maps, plats, plans, photographs, models or other visual
         reproductions of any object, place or thing prepared or utilized
         by, referred to or relied upon by any expert witness intended
         to be called at the time of trial.
   10. All calculations performed by the expert or any assistant(s)
         to the expert.
   11. All paperwork generated by the expert or any assistant(s) of
         the expert in connection with this case.
   12. Copies all reports generated by the expert(s) of the responding
         party, or their assistant(s), in any matters similar to this
         case in which they have provided reports during the last 10
         years.
   13. All photographs, charts, diagrams, maps and other pictorial or
         graphic depictions of any matter relevant to the action whether
         in the possession of or under the control of or available to
         the party or in the possession of any representative of that
         party’s insurance carrier, including but not limited to
         depictions of the condition of and/or damage to physical
         property.
   14. Any documents or materials which may be used by the responding
         party under Evidence Rule 803(c)(18).
   15. Complete and clearly readable copies of any and all writings,
         documents or physical evidence reviewed by any such expert in
         the preparation of a report, written or oral.

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   16. Copies of any hospital/medical records that the party to whom
       this demand is directed, or his/her/their representatives,
       employees or attorneys have obtained pursuant to N.J.S.A.
       2A:82-41, et seq., or otherwise.
   17. Copies of any and all statements from the defendant, employees
       of the defendant, or the employees of sub-contractors pursuant
       to Werkheiser v. T.E. Warren, Inc., 142 N.J. Super. 405 (1976)
       and Branca v. Shore Memorial Hospital, 182 N.J. Super. 315
       (1981), including all statements in the possession of
       defendant, defendant’s counsel, defendant’s insurance company
       and/or any other person or entity known to defendant. NOTE: If
       you object on the grounds of Attorney Work Product and/or
       Attorney-Client Privilege, state:
         a.   From whom the statement was taken;
         b.   By whom the statement was taken;
         c.   The date the statement was taken; and
         d.   The name and address of the person and/or entity who has
              possession of the statement.
   18. All    transcripts     of   any    deposition,     Court   proceeding      or
       testimony with respect to this incident.
   19. Any and all discovery received from any other party to this
       action.
   20. Any    and   all   documents      or    writings   of   whatever   kind    or
       description which could be relied upon or which may be relied
       upon in establishing any claim or in rebutting any known or
       anticipated defense raised by any party.
   21. All documents or materials relating to any facts which would
       or could affect the potential credibility of any person who
       might be a witness.




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   22. All documents or materials relevant to the authenticity,
       accuracy, or credibility of any document relevant to any issue
       in this case.
   23. A copy of, or a description by category and location of, all
       documents, dates, compilations, and tangible things in the
       custody, or control of the party to whom this notice is addressed
       that are relevant to the disputed facts in this case.
   24. Any surveillance films, tapes, videos, photographs and reports
       of surveillance performed or taken relevant to this case.
   25. All reports or documents which relate to the medical, insurance
       claims, or litigation history of any party or potential witness
       in this case, including but not limited to any information from
       Insurance Services Office, Inc.
   26. Any documents or materials which would tend to support a bona
       fide dispute within the meaning of Evidence Rule 101(a)(4) as
       to the authenticity of any document produced in this case.

 Please include the required R. 4:18-1 Certification with your
 response.



                                       BARRY, CORRADO, GRASSI
                                       & GILLIN-SCHWARTZ, P.C.
                                       Attorneys for plaintiff


                                 By:
                                       Suzanne Pasley, Esquire
 Dated: May 22, 2020




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                            EXHIBIT C
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 Attorneys for Plaintiffs

 ELIZABETH ROACH and NORMAN                       SUPERIOR COURT OF NEW JERSEY
 ROACH,                                          CAPE MAY COUNTY - LAW DIVISION
           Plaintiffs,                              DOCKET NO.: CPM-L-480-19
 v.
                                                          CIVIL ACTION
 ALLSTATE INSURANCE COMPANY,
 JOHN DOE (1-10) FICTITIOUS
 NAMES, AND JOHN DOE, INC. (1-                      ORDER ENTERING JUDGMENT
 10) FICTITIOUS NAMES,
                Defendants.

         THIS MATTER having come before the Court for a trial by

 jury, the issues have been tried and the jury having rendered

 its verdict on February 8, 2023 in favor of Plaintiff Elizabeth

 Roach and against Allstate Insurance Company in the amount of

 four     million      dollars     ($4,000,000);        and    Allstate      Insurance

 Company having an applicable policy of Underinsured/Uninsured in

 the amount of two hundred and fifty thousand dollars ($250,000),

 and considering the underlying settlement with the tortfeasor

 Defendant Donald Walsh for at or about the applicable policy

 limits of one hundred thousand dollars ($100,000);

                                             22nd
         IT IS ORDERED AND ADJUDGED on this ______ day of February,

 2023, that the verdict is hereby molded and JUDGMENT IS ENTERED

 against Allstate Insurance Company in the amount of one hundred

 fifty thousand dollars ($150,000);

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                                                                 ID: LCV2023514290
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       IT IS FURTHER ORDERED that the molding of the verdict and

 the entry of judgment in this matter is without prejudice to any

 bad faith interests, rights, or claims of Plaintiff to collect

 additional damages including but not limited to actual damages,

 attorneys’     fees,    costs,     and    pre    and   post-judgment       interest

 against Defendant, whether based on common law or the New Jersey

 Insurance Fair Conduct Act, N.J.S.A. 17:29BB-1, et seq.



                           ________________________________________
                           Hon. Sarah Beth Johnson, J.S.C.




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